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               EXHIBIT A
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                        DEFAULT JUGDMENT MOTION COVER SHEET

MDL MOVING PAPERS
         Motion: ECF No.        9910

         Memorandum of law: ECF No.              9911

         Declaration & supporting exhibits: ECF No.             9915

PLAINTIFFS
Please describe each set of plaintiffs requesting judgments in this motion.
 Exhibit              Description of Plaintiffs                           Cause(s) of Action
     B      U.S. national estate plaintiffs                         FSIA (28 U.S.C. s. 1605A)




DEFENDANTS
Please list all defendants the plaintiffs are moving against:
         Islamic Republic of Iran



COMPLIANCE                                               3, 9
         As stated in ECF No.        at ¶   , counsel followed the quality control measures outlined in
         ECF No. 3433 and adopted in ECF No. 3435.
         As stated in ECF No.                 at ¶      , these plaintiffs have not previously received judgments
         against these defendants.                           8-12
         Excel versions of any tables attached to the proposed order were emailed to
         Netburn_NYSDChambers@nysd.uscourts.gov on 6 / 17 / 2024 .

SUBJECT MATTER JURISDICTION
    ✔   The Court previously addressed subject matter jurisdiction over these claims in ECF No.
                                                                                                            5049, 5054, 9416
        The Court has not previously addressed subject matter jurisdiction over these claims.

PERSONAL JURISDICTION
    ✔   The Court previously addressed personal jurisdiction over these defendants in ECF No.                      5049, 5054,
        The Court has not addressed personal jurisdiction over these defendants.                                   9416

FACTUAL & LEGAL QUESTIONS
        This motion requests  new functional equivalence findings;  new personal injury assessments;
         or  resolution of a new issue:
    ✔   This motion does not raise novel factual or legal issues.
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RELEVANT FILINGS
For each member case, list docket entries for the corresponding filings. Duplicate this page if additional space is needed.

       Member Case &                         Notices of Amendment                  Alternative Service          Affidavit of     Certificate of           Liability
      Operative Complaint                       & Substitutions                          Order                    Service          Default               Judgment
                                      *list entries relevant to moving plaintiffs* *complete if applicable*                                       *leave blank if requesting
                                                                                                                                                  liability judgment*
Chang Don Kim, et al. v. Islamic    MDL ECF Nos. 5532, 5565 (granting                                         MDL ECF No.      MDL ECF No.        MDL ECF No. 5049
Republic of Iran, No. 1:18-cv-11870 5532)                                                                     4690             4817
(GBD) (SN), ECF No. 1

Marinella Hemenway, et al. v.         MDL ECF Nos. 5548, 5641 (granting                                       MDL ECF No.      MDL ECF No.        MDL ECF No. 5054
Islamic Republic of Iran, No. 1:18-   5548)                                                                   4694             4814
cv-12277 (GBD) (SN), ECF No. 1

Susan M. King, et al. v. Islamic                                                                              MDL ECF No.      MDL ECF No.        MDL ECF No. 9416
Republic of Iran, No. 1:22-cv-05193                                                                           8887             8928
(GBD) (SN), ECF No. 1
